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3/19/2020

 

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Case.net: 20SL-CC00477 - Docket Entries

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01/16/2020

This information is provided as a service and is not considered an official court record.

- All Entries ey
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Agent Served

Document ID - 20-SMCC-1851; Served To - WAL-MART STORES EAST I, LP; Server - CT CORP;
Served Date - 05-MAR-20; Served Time - 00:00:00; Service Type - Territory 30; Reason Description -
Served; Service Text - LC

Judge Assigned

CAUSE REASSIGNED TO JUDGE JASON D DODSON, FOR HEARING AND DETERMINATION
EFFECTIVE MARCH 2, 2020 PER ADMINISTRATIVE ORDER

| Summons Issued-Circuit

Document ID: 20-SMCC-1851, for WAL-MART STORES EAST |, LP? Summons Attached in PDF Form
for Attorney to Retrieve from Secure Case.Net and Process for Service.

Summ Reg-Circuit Pers Serv
Summons Request.
Filed By: BRYAN JOSEPH SANGER

_| Petition:

Petition for Damages signed by Attorney.
Filed By: BRYAN JOSEPH SANGER
On Behalf Of: DEBORAH BARROW

_| Judge/Clerk - Note

NO SUMMONS ISSUED DUE TO MISSING ATTORNEY'S SIGNATURE ON THE PETITION FILED.
YOUR PETITION MUST BE SIGNED WITH A PHYSICAL SIGNATURE OR AN ELECTRONIC
SIGNATURE. E-FILE AN AMENDED PETITION INCLUDING THE ATTORNEY'S PHYSICAL OR
ELECTRONIC SIGNATURE SO THE SUMMONS CAN BE ISSUED. EXAMPLE OF A CORRECT
ELECTRONIC SIGNATURE SHOWN BELOW. - /S/ (ATTY'S NAME)

| Filing Info Sheet eFiling

Filed By: BRYAN JOSEPH SANGER

Pet Filed in Circuit Ct
Petition.
On Behalf Of: DEBORAH BARROW

| Judge Assigned

DIV2

 

Case.net Version 5.14.0.17 Return to Top of Page Released 11/25/2019
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20SL-CC00477

IN THE CIRCUIT COURT OF ST. LOUIS COUNTY

STATE OF MISSOURI
DEBORAH BARROW, )
)
Plaintiff, )
) Cause No.
Vs. )
) Division No.
WAL-MART STORES EAST I, LP )
)
SERVE: Registered Agent )
CT Corporation System ) Personal Injury
120 South Central Ave. ) In Excess of $25,000.00
Clayton, MO 63105 ) JURY TRIAL DEMANDED
)
Defendant. )
PETITION FOR DAMAGES

COMES NOW, Plaintiff Deborah Barrow, by and through her attorneys, Mandel,
Mandel, Marsh, Sudekum & Sanger, and for her cause of action against Defendant Wal-Mart
Stores East I, LP, states as follows:

l. That Plaintiff Deborah Barrow (hereinafter “Plaintiff’) is a resident and
citizen of the state of Missouri.

2. That at all material times herein, Defendant Wal-Mart Stores East I, LP
(hereinafter “Defendant”), is a Delaware corporation, duly authorized and existing under
law to do business in the State of Missouri.

3, At all times relevant hereto, Defendant owned, managed, maintained, and
operated the retail store facility located at 11900 St. Charles Rock Rd, Bridgeton, MO
63044, Missouri, Store #1188, wherein Plaintiff Deborah Barrow slipped and was

severely injured.

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Case: 4:20-cv-00417-SRC Doc. #: 1-3 Filed: 03/19/20 Page: 3 of 15 PagelD #: 8

 

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3. Jurisdiction and venue are proper in this Court pursuant to R.S.Mo. o.

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§508.010.4, as the negligent acts of the Defendant complained of herein occurred at said
property in St. Louis County, State of Missouri.

4. That on or about June 16, 2019, the Plaintiff was a business invitee,
lawfully on Defendant’s premises to shop at its store located thereon. Said premises are re
located at 11900 St. Charles Rock Rd, Bridgeton, MO 63044, Missouri, Store #1188.

5. That at all material times, Defendant by and through its agents, servants or o
employees owned, maintained and operated the property located at 11900 St. Charles Rock ts,
Rd, Bridgeton, MO 63044, Missouri, Store #1188.

6. That at all times mentioned herein, Defendant, acting through its agents
and employees, owed a duty to use ordinary care so as not to cause harm to those on the
premises.

Te That on said date Plaintiff was a business invitee inside the aforementioned
Wal-Mart retail store, when she was caused to slip on wet flooring in the store entrance
vestibule, due to the negligence and carelessness of Defendant.

8. That the wetness on the vestibule floor that was permitted to exist and created
an dangerous and defective condition, and as a result the premises were not reasonably safe.

9. That Plaintiff's fall and resulting injuries were caused by the carelessness and
negligence of Defendant and/or its employees, agents and/ or servants in one or more of the
following particulars:

(a) Defendant, by and through its agents, servants and employees, knew
or had actual or constructive knowledge of the dangerous and foreseeable
condition created by water on said floor of the aforesaid premises; and

(b) Defendant, by and through its agents, servants and employees,
Case: 4:20-cv-00417-SRC Doc. #: 1-3 Filed: 03/19/20 Page: 4 of 15 PagelD #: 9

10.

failed to inspect said area and/or discover said dangerous defective
condition; and

(c) Defendant, by and through its agent’s servants and employees,
failed to barricade said dangerous defective condition and/or warn the
public and particularly Plaintiff of said dangerous defective condition; and
(d) Defendant knew or should have known that the water on the floor
created a dangerous condition and thereby created a reasonable risk of injury to
persons such as Plaintiff; and

(e) Defendant, by and through its agents, servants and employees,
failed to use ordinary care to make the area reasonably safe; remove and/or
otherwise remedy said dangerous defective condition; and

(f) Defendant, by and through its agents, servants and employees,
failed to follow policies and procedures to prevent or remediate the
dangerous defective condition;

(g) Defendant, by and through its agents, servants and employees,
failed to properly train and/or supervise employees;

(h) Other matters of negligence to be documented throughout
discovery and established at trial.

That as a direct and proximate result of one or more of the aforementioned

acts of negligence by the Defendant, Plaintiff slipped and fell and was injured.

11.

That as a direct and proximate result of the aforesaid negligence and

carelessness of Defendant, and or its employees, agents, and/or servants of the Defendant,

Plaintiff was caused to sustain injuries to her left hip requiring a hip replacement, and

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Case: 4:20-cv-00417-SRC Doc. #: 1-3 Filed: 03/19/20 Page: 5 of 15 PagelD #: 10

injuries to her head, neck, back, and other parts of her body, and the bones, joints,
muscles, tendons, tissues, nerves, membranes, ligaments, and skin and parts thereof were
seriously bruised, contused, sprained, strained, and made painful. That Plaintiff's ability
to work, labor, and enjoy life has been and will be impaired. Plaintiff's injuries are
serious, painful and disabling, and will continue to be so in the future.

WHEREFORE, Plaintiff, Deborah Barrow, prays for judgment against Defendant
Wal-Mart Stores I, LP, in a fair and reasonable amount, in excess of $25,000.00 (Twenty-
Five Thousand Dollars); costs expended herein, and any other relief this Court deems just

and proper.

Respectfully Submitted,

MANDEL, MANDEL,
MARSH, SUDEKUM & SANGER

By: _ Bryan J. Sanger
BRYAN J. SANGER, #60210

1010 Market Street, Eighth Floor
Saint Louis, Missouri 63101
(314) 621-1701 (Telephone)
(314) 621-4800 (Facsimile)
bryan@mandelmandel.com
Counsel for Plaintiff

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Case: 4:20-cv-00417-SRC Doc. #: 1-3 Filed: 03/19/20 Page: 6 of 15 PagelD #: 11

IN THE CIRCUIT COURT OF ST. LOUIS COUNTY

STATE OF MISSOURI
DEBORAH BARROW, )
)
Plaintiff, )
) Cause No.
VS. )
) Division No.
WAL-MART STORES EAST I, LP )
)
SERVE: Registered Agent )
CT Corporation System ) Personal Injury
120 South Central Ave. ) In Excess of $25,000.00
Clayton, MO 63105 ) JURY TRIAL DEMANDED
)
Defendant. )

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3. At all times relevant hereto, Defendant owned, managed, maintained, and
operated the retail store facility located at 11900 St. Charles Rock Rd, Bridgeton, MO
63044, Missouri, Store #1188, wherein Plaintiff Deborah Barrow slipped and was

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Case: 4:20-cv-00417-SRC Doc. #: 1-3 Filed: 03/19/20 Page: 7 of 15 PagelD #: 12

3. Jurisdiction and venue are proper in this Court pursuant to R.S.Mo.
§508.010.4, as the negligent acts of the Defendant complained of herein occurred at said
property in St. Louis County, State of Missouri.

4. That on or about June 16, 2019, the Plaintiff was a business invitee,
lawfully on Defendant’s premises to shop at its store located thereon. Said premises are
located at 11900 St. Charles Rock Rd, Bridgeton, MO 63044, Missouri, Store #1188.

5. That at all material times, Defendant by and through its agents, servants or
employees owned, maintained and operated the property located at 11900 St. Charles Rock
Rd, Bridgeton, MO 63044, Missouri, Store #1188.

6. That at all times mentioned herein, Defendant, acting through its agents
and employees, owed a duty to use ordinary care so as not to cause harm to those on the
premises.

7. That on said date Plaintiff was a business invitee inside the aforementioned
Wal-Mart retail store, when she was caused to slip on wet flooring in the store entrance
vestibule, due to the negligence and carelessness of Defendant.

8. That the wetness on the vestibule floor that was permitted to exist and created
an dangerous and defective condition, and as a result the premises were not reasonably safe.

9. That Plaintiff's fall and resulting injuries were caused by the carelessness and
negligence of Defendant and/or its employees, agents and/ or servants in one or more of the
following particulars:

(a) Defendant, by and through its agents, servants and employees, knew
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(b) Defendant, by and through its agents, servants and employees,

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Case: 4:20-cv-00417-SRC Doc. #: 1-3 Filed: 03/19/20 Page: 8 of 15 PagelD #: 13

10.

failed to inspect said area and/or discover said dangerous defective
condition; and

(c) Defendant, by and through its agent’s servants and employees,
failed to barricade said dangerous defective condition and/or warn the
public and particularly Plaintiff of said dangerous defective condition; and
(d) Defendant knew or should have known that the water on the floor
created a dangerous condition and thereby created a reasonable risk of injury to
persons such as Plaintiff; and

(e) Defendant, by and through its agents, servants and employees,
failed to use ordinary care to make the area reasonably safe; remove and/or
otherwise remedy said dangerous defective condition; and

() Defendant, by and through its agents, servants and employees,
failed to follow policies and procedures to prevent or remediate the
dangerous defective condition;

(g) Defendant, by and through its agents, servants and employees,
failed to properly train and/or supervise employees;

(h) Other matters of negligence to be documented throughout
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That as a direct and proximate result of one or more of the aforementioned

acts of negligence by the Defendant, Plaintiff slipped and fell and was injured.

11.

That as a direct and proximate result of the aforesaid negligence and

carelessness of Defendant, and or its employees, agents, and/or servants of the Defendant,

Plaintiff was caused to sustain injuries to her left hip requiring a hip replacement, and

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injuries to her head, neck, back, and other parts of her body, and the bones, joints,
muscles, tendons, tissues, nerves, membranes, ligaments, and skin and parts thereof were
seriously bruised, contused, sprained, strained, and made painful. That Plaintiff's ability
to work, labor, and enjoy life has been and will be impaired. Plaintiff's injuries are
serious, painful and disabling, and will continue to be so in the future.

WHEREFORE, Plaintiff, Deborah Barrow, prays for judgment against Defendant
Wal-Mart Stores I, LP, in a fair and reasonable amount, in excess of $25,000.00 (Twenty-
Five Thousand Dollars); costs expended herein, and any other relief this Court deems just

and proper.

Respectfully Submitted,

MANDEL, MANDEL,
MARSH, SUDEKUM & SANGER

By: _ /s/ Bryan J. Sanger
BRYAN J. SANGER, #60210

1010 Market Street, Eighth Floor
Saint Louis, Missouri 63101
(314) 621-1701 (Telephone)
(314) 621-4800 (Facsimile)
bryan@mandelmandel.com
Counsel for Plaintiff

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Case: 4:20-cv-00417-SRC Doc. #: 1-3 Filed: 03/19/20 Page: 10 of 15 PagelD #: 15

IN THE CIRCUIT COURT OF ST. LOUIS COUNTY

STATE OF MISSOURI
DEBORAH BARROW, )
)
Plaintiff, )
) Cause No. 20SL-CC00477
vs. )
) Division No. 2
WAL-MART STORES EAST I, LP )
)
Defendant. )
REQUEST FOR SUMMONS

 

Plaintiff requests Summons to be issued upon Defendant Wal-Mart Stores East I, LP:

SERVE: Registered Agent
CT Corporation System
120 South Central Ave.
Clayton, MO 63105

Respectfully submitted,

MANDEL, MANDEL, MARSH, SUDEKUM & SANGER

/s/ Bryan J. Sanger
Bryan J. Sanger, #60210
1010 Market Street, Suite 850
St. Louis, MO 63101
PH: 314-621-1701
FX: 314-621-4800
bryan@mandelmandel.com

SO ORDERED:

 

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Case: 4:20-cv-00417-SRC Doc. #: 1-3 Filed: 03/19/20 Page: 11 of 15 PagelD #: 16

IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 

 

Judge or Division: Case Number: 20SL-CC00477

 

RICHARD M STEWART
Plaintiff/Petitioner: Plaintiff's/Petitioner’s Attorney/Address
DEBORAH BARROW BRYAN JOSEPH SANGER

1010 MARKET STREET

SUITE 850
vs. | ST. LOUIS, MO 63101

 

 

Defendant/Respondent: Court Address:
WAL-MART STORES EAST I, LP ST LOUIS COUNTY COURT BUILDING
105 SOUTH CENTRAL AVENUE

Nature of Suit:
CC Pers Injury-Other

 

 

CLAYTON, MO 63105 (Date File Stamp)

 

Summons in Civil Case
The State of Missouri to: WAL-MART STORES EAST I, LP

 

Alias:
120 SOUTH CENTRAL AVE
CT CORPORATION SYSTEM
CLAYTON, MO 63105

COURT SEAL OF You are summoned to appear before this court and to file your pleading to the petition, a copy of
ae COURT which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov,
or through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
proceeding. ZZ

27-FEB-2020

Date C/ f Clerk .

Further Information:
LG

 

ST. LOUIS COUNTY

 

 

Sheriff's or Server’s Return
Note to serving officer: Summons should be retumed to the court within thirty days after the date of issue.
I certify that | have served the above summons by: (check one)
oO delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.

[_] leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
a person of the Defendant’s/Respondent’s family over the age of 15 years who

 

permanently resides with the Defendant/Respondent.
L] (for service on a corporation) delivering a copy of the summons and a copy of the petition to

 

 

 

 

 

 

 

 

 

 

 

 

(name) (title).
| other
Served at (address)
in (County/City of St. Louis), MO, on (date) at (time).
Printed Name of Sheriff or Server Signature of Sheriff or Server
Must be sworn before a notary public if not served by an authorized officer:
Subscribed and swom to before me on (date).
(Seal)
My commission expires:
Date Notary Public
OSCA (7-99) SM30 (SMCC) For Court Use Only. Document ID# 20-SMCC-1851 | (Civil Procedure Form No. 1, Rules 54.01 — 54.05,

34,13, and 54.20; 506,120 — 506.140, and 506.150 RSMo
 

Case: 4:20-cv-00417-SRC Doc. #: 1-3 Filed: 03/19/20 Page: 12 of 15 PagelD #: 17

 

 

Sheriff's Fees, if applicable

Summons $

Non Est $.

Sheriff's Deputy Salary

Supplemental Surcharge $ 10.00

Mileage $ ( miles @ $. per mile)

Total §

A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of

suits, see Supreme Court Rule 54.

 

OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-1851 2 (Civil Procedure Form No. 1, Rules 54.01 — 54.05,
54.13, and 54.20; 506.120 — 506.140, and 506.150 RSMo
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THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

Twenty First Judicial Circuit

NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES

Purpose of Notice

As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

(1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator's decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

(2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the

parties.

CCADM73

OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-1851 3 (Civil Procedure Form No. 1, Rules 54.01 — 54.05,
54.13, and 54.20; 506.120 — 506.140, and 506.150 RSMo
Case: 4:20-cv-00417-SRC Doc. #: 1-3 Filed: 03/19/20 Page: 14 of 15 PagelD #: 19

(3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

(4) Mini-Trial; A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

(5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

lf the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 105 South Central Ave., 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting

a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.

CCADM73

OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-1851 4 (Civil Procedure Form No. 1, Rules 54,01 — 54.05,
54.13, and 54.20; 506.120 — 506,140, and 506.150 RSMo
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IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

Ramm 3%

 

 

 

 

 

 

 

Judge or Division: Case Number: 20SL-CC00477
RICHARD M STEWART
Plaintiff/Petitioner: Plaintiff’s/Petitioner’s Attorney/Address
DEBORAH BARROW BRYAN JOSEPH SANGER i L EF

1010 MARKET STREET j

SUITE 850 :

ys. | ST. LOUIS, MO 63101 MAR ] 0 3900 ERE
Defendant/Respondent: Court Address: - uct
WAL-MART STORES EAST I, LP ST LOUIS COUNTY COURT BUILDING

Nature of Suit: 105 SOUTH CENTRAL AVENUE snes JOAN M. GILMER
CC Pers Injury-Other CLAYTON, MO 63105 HT CLERK. ST. LOWS. 2ouNRs)

 

Summons in Civil Case
The State of Missouri to: WAL-MART STORES EAST I, LP
Alias: ZO
120 SOUTH CENTRAL AVE

CT CORPORATION SYSTEM ercok
CLAYTON, MO 63105 AN /

 

You are summoned to appear before this court and to file your pleading to the petition, a copy of
which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov,
or through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court

ST, LOUIS COUNTY prusebding. fr

 

 

27-FEB-2020 e
Date CJ [Clerk ‘
Further Information:
LG

 

Sheriff's or Server’s Return
Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.

i certify that I have served the above summons by: (check one)

[[] delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.

[_] teaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
: ___a person of the Defendant's/Respondent’s family over the age of 15 years who

Spree ey

OHV

 

permanently resides with the Defendant/Respondent.
i of the summons and a copy of the petition to

 

 

 

 

  

 

    
  

 

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RANDO (name) _ INTAKE SPECIALIS#> <> Sau
mr" f *
(_] other : Sar oe im. ne
Served ‘st cj CORPORATION . oe cn t e oe
. A Cr A
in : (County/City of St. Louis), MO, on » FALSE (date) at? § dime) cp
— X a Sa > “te <—
Printed Naqne of Sheriff or Server Signature of Sheri e i .
Must be sworn before a notary public if not served by a thorized officer: cS

Subscribed and sworn to before me on (date/-

 

 

(Seal)

 

 

 

My commission expires:
Date Notary Public

Vee
(Civil Procedure Form No, |, Rules 54.01 — 54.05,

OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-1851 1
. 54.13, and 54.20; 506.120 — 506.140, and 506.150 RSMo

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